             Case 1:19-cv-03377-LAP Document 241 Filed 02/26/21 Page 1 of 4


                                        Cooper & Kirk
                                                     Lawyers
                                       A Professional Limited Liability Company

Nicole J. Moss                     1523 New Hampshire Avenue, N.W.                              (202) 220-9600
(202) 220-9636                          Washington, D.C. 20036                              Fax (202) 220-9601
nmoss@cooperkirk.com

                                              February 26, 2021
VIA ECF
The Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Dershowitz, No. 19-cv-3377-LAP
               Pre-Motion Letter: Motion To Compel
Dear Judge Preska:
        I write on behalf of Plaintiff Virginia Giuffre to request the Court’s permission to file a motion to
compel Defendant Alan Dershowitz to produce electronic communications and documents sent to or from
his Harvard University email account (“Harvard account”), with an alternative request for a ruling in
limine. We also seek leave to file a portion of that motion under seal.

       Plaintiff served her first set of requests for production on Defendant a full year ago, on February
28, 2020. Defendant has represented that he uses only two email accounts: the Harvard account and a
Gmail account. While Defendant has represented that he has substantially completed his production from
his Gmail account, to date Plaintiff has not received a single production from the Harvard account.

         Defendant does not dispute that his communications in the Harvard account are discoverable
material. To the contrary, Defendant has acknowledged from the start his obligation to produce responsive
documents from the Harvard account. Instead, Defendant attributes his failure to produce the documents
to the university’s insistence on adhering to its policy of conducting a review of Defendant’s emails for
information that is confidential under the Family Educational Rights and Privacy Act (FERPA) and other
laws before releasing them to Defendant (the “FERPA review”). Yet Defendant knew when this litigation
began that he would have to make arrangements with Harvard to meet his discovery obligations. His
failure to conclude such arrangements more than eighteen months after this litigation began and one year
after receiving Plaintiffs’ discovery requests leaves Plaintiff no choice but to seek the Court’s intervention.

        Counsel for Defendant first informed us that Harvard controlled access to his email account during
a meet and confer on May 26, 2020. The next day, we followed up with a written request for a description
of the protocol Harvard would be using to collect and review Defendant’s emails. Counsel for Defendant
did not respond. One month later, we renewed our request, and again our inquiry went unanswered. It was
not until July 21, 2020, after further prompting, that counsel for Defendant informed us that “Harvard will
not agree to collect Prof. Dershowitz’s email until we have an agreed-upon set of search terms, since they
apply search terms on their end as part of the collection process.” By that point, Plaintiff’s search term
proposal had been outstanding for nearly two months. On August 7, 2020, the parties reached an
agreement on search terms. Again, nearly a month passed without an update from Defendant, and we
             Case 1:19-cv-03377-LAP Document 241 Filed 02/26/21 Page 2 of 4


February 26, 2021
Page 2

inquired once more. On September 4, 2020, counsel for Defendant promised a “substantive update on the
status of the Harvard collection by next week.” That report never arrived.

        Frustrated by Defendant’s foot-dragging in producing documents from the Harvard account, on
September 8, 2020, Plaintiff issued a subpoena directly to Harvard, seeking inter alia the production of
Defendant’s emails containing the agreed search terms. Counsel for Defendant responded to Plaintiffs’
notice by stating that Defendant did not “as a general matter, object to [our] pursuing the discovery of
Professor Dershowitz’s Harvard email in this manner,” but asserting for the first time that “[a]ll that was
agreed with respect to the Harvard account is that we would apply these search terms as a starting point,
and thereafter refine as appropriate depending on the volume of documents returned.” Defendant then
suspended his own efforts to collect and produce documents from the Harvard account, but did not notify
Plaintiff until we inquired about his efforts a month later.

       In mid-October, Plaintiff began negotiating with Harvard concerning the subpoena. Within days—
and without requiring advance agreement on search terms—Harvard had collected Defendant’s account.
Since early November, counsel for Plaintiff, Defendant, and Harvard have been negotiating a protocol for
review and production to reduce Defendant’s burden in a way that is compatible with meeting his
discovery obligations. We have reached an agreement in principal that the parties will develop a search
protocol to identify the universe of emails subject to review and production; Harvard will then conduct a
FERPA review before releasing the emails to Defendant for a responsiveness and privilege review. 1

       Plaintiff seeks the Court’s intervention on three issues on which the parties have not been able to
reach an agreement: who will bear the cost of Harvard’s review, certain features of the search protocol,
and Defendant’s ability to assert privilege over emails hosted on the Harvard server.

        Cost: Harvard has taken the position that the parties must bear the full cost of Harvard’s FERPA
review, and its counsel will not commence the FERPA review until an agreement has been reached
concerning who will cover the cost. Plaintiff’s position is that Defendant must bear any cost Harvard
passes on to the parties because it is his obligation to produce his own emails. The burden of bearing
Harvard’s cost should not shift to Plaintiff merely because Defendant delayed the process so long that she
felt compelled to subpoena the documents directly from Harvard.

       Plaintiff therefore seeks permission to move to compel Defendant to bear the costs of Harvard’s
FERPA review of documents returned by the parties’ negotiated search protocol. In addition, she seeks an
order compelling Defendant to pay Harvard immediately so Harvard will promptly review and produce
the documents returned by the search terms and parameters set forth in Appendix A, which are basic to
the case and highly likely to return documents relevant to the parties’ claims and defenses. There is no
reasonable basis for further delaying production of these clearly discoverable materials while the parties
continue to negotiate over the balance of the protocol.

       Search Protocol: The parties continue to negotiate certain features of the search protocol, but they

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  In early February, Defendant requested that Harvard release a subset of emails deemed unlikely to
contain FERPA material to Defendant’s counsel without performing a FERPA review. To our knowledge,
Harvard has not responded to that proposal, but it has rejected similar proposals by Plaintiff on the ground
that it must review all emails before release.
             Case 1:19-cv-03377-LAP Document 241 Filed 02/26/21 Page 3 of 4


February 26, 2021
Page 3

have reached an impasse on the following two related issues: (1) Harvard and Defendant take, in Plaintiff’s
view, the procrustean position that the search terms must continue to be pruned and refined until the
volume of emails subject to review is reduced down to some unspecified number without regard to the
relevancy and importance of various search terms, and (2) to reduce the review volume, Defendant seeks
to exclude from the search protocol search terms relating to individuals other than Defendant whom
Plaintiff has identified as Epstein associates. Yet Defendant has repeatedly made it clear that he considers
the veracity of Plaintiff’s statements concerning these individuals to be relevant to his defense to her
defamation claims. See, e.g., Mem. of Law in Supp. of Mot. To Disqualify, Doc. 204, at 8 (Nov. 18, 2020).
Although Plaintiff stands by her prior testimony concerning Epstein associates, she agrees with the Court
that the conduct of these Epstein associates “is fairly far afield from the main issue in this litigation.”
Order, Doc. 152, at 2 (July 22, 2020). Plaintiff therefore offered to eliminate the disputed terms from the
search protocol if Defendant will foreswear seeking discovery or offering evidence about the referenced
Epstein associates and using information about them to impeach Plaintiff. Defendant rejected the offer.

        In order to resolve this dispute and to forestall future discovery disputes of a similar nature,
Plaintiff seeks permission to move for a ruling in limine that evidence relating to Plaintiff’s allegations
concerning other Epstein associates is not admissible in this action. Plaintiff also seeks leave to file under
seal so much of her motion as discloses the identities of these individuals and any details of Plaintiff’s
statements concerning them. Finally, and in the alternative, Plaintiff seeks an order compelling Defendant
to produce documents concerning these individuals if he intends to rely on evidence relating to Plaintiff’s
statements about them to prosecute his claims, defend against hers, or for impeachment purposes.

         Privilege: Defendant has announced his intention to assert privilege over his communications to
and from his Harvard email address. When a person uses an employer-provided email account to
communicate with his attorneys, the communication is privileged only if the person’s expectation of
confidentiality is “objectively reasonable.” In re Asia Glob. Crossing, Ltd., 322 B.R. 247, 258 (Bankr.
S.D.N.Y. 2005); see also Convertino v. U.S. Dep’t of Just., 674 F. Supp. 2d 97, 110 (D.D.C. 2009).
Harvard’s policies expressly reserve to the university the right to access communications “stored in or
transmitted through [its] systems.” 2 The process of obtaining Defendant’s communications for this
litigation underscores the unreasonableness of any expectation of confidentiality: Defendant’s own
attorneys cannot access his communications from Harvard’s servers until Harvard has conducted a
substantive review of those communications. Defendant learned of that practice at least as early as 2015,
when he attempted to collect communications for production in Edwards v. Dershowitz, No. CACE-15-
000072 (17th Cir. Ct. Broward Cnty. Fla.). Plaintiff therefore respectfully seeks permission to move to
compel Defendant to produce responsive communications with his counsel using his Harvard email
address from April 1, 2015 to April 16, 2019.

        Plaintiff reserves her rights with respect to other discovery-related disputes. Plaintiff seeks to move
for relief on the Harvard account now because she feels judicial intervention is needed to advance
discovery to a point where any remaining disputes can be presented for the Court’s resolution.


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  Policy on Access to Electronic Information, HARVARD UNIV. (amend. May 8, 2015), available at
https://bit.ly/3shYpHc; see also REPORT OF THE ELECTRONIC COMMUNICATIONS POLICY TASK FORCE,
HARVARD UNIV. (Feb. 2014), available at https://bit.ly/2ZE9kPr (describing practice before the adoption
of the above policy).
            Case 1:19-cv-03377-LAP Document 241 Filed 02/26/21 Page 4 of 4


February 26, 2021
Page 4

                                          Respectfully,

                                          /s/ Nicole Jo Moss
                                          Nicole J. Moss

cc: Counsel of Record
